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FORD MOTOR CREDIT COMPANY LLC


                             UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

IN RE:                                         §
                                               §
REAGOR-DYKES MOTORS, LP                        §         Case No. 18-50214-rlj111
                                               §          (Jointly Administered)
                   Debtor.                     §



1
  The Debtors are Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes Amarillo,
LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-
Dykes Plainview, LP (Case No. 18-50218), and Reagor-Dykes Floydada, LP (Case No. 18-
50219).

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                 OBJECTION TO FIRST AND FINAL APPLICATION FOR APPROVAL OF FEES AND EXPENSES
                                                              OF MULLIN HOARD & BROWN L.L.P.
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OBJECTION TO FIRST AND FINAL APPLICATION FOR APPROVAL OF FEES AND
            EXPENSES OF MULLIN HOARD & BROWN, L.L.P.


                                          I. INTRODUCTION
          Ford Motor Credit Company LLC (“Ford Credit”) objects to Mullin Hoard & Brown,

L.L.P.’s (“MHB”) firsts and final application for approval of fees and expenses (the

“Application”). The Application seeks approval of nearly a quarter of a million dollars for work

MHB performed over the course of a little over three weeks. Ford Credit objects to the

Application on the grounds that the fees sought are not reasonable and that any fee award should

be adjusted downward given the result obtained for the estate.

                                        II. PERTINENT FACTS
          1.        Prior to the bankruptcy filings on July 29, 2018, Rick Dykes and Bart Reagor,

limited partners of the Debtors, contacted MHB to analyze the financial situation of the Debtors

and related entities and negotiate a resolution with the Debtors’ creditors.2

          2.        On August 1, 2018, Rick Dykes and Bart Reagor executed corporate resolutions

authorizing the Debtors to file voluntary petitions for relief under Chapter 11 of the Bankruptcy

Code and to employ MHB as counsel for the Debtors.3 MHB did not invoice or collect pre-

petition legal fees incurred by the Debtors or the non-debtor entities.4

          3.        After the filing of the bankruptcy cases, the limited partners of the Debtors, Rick

Dykes and Bart Reagor, each individually paid MHB a retainer totaling $500,000 for MHB to

represent the Debtors in bankruptcy.5

          4.        Although RAM and RD/Snyder were not debtors in bankruptcy, MHB continued

to represent these entities after the Debtors filed for bankruptcy relief and for which MHB seeks

compensation.6

2
    Application [Docket No. 470] at ¶ 11.
3
    Id. at ¶¶ 14-17, 34.
4
    Id. at ¶ 19.
5
    Id. at ¶¶ 34-35.

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          5.        On August 21, 2018, the CRO BlackBriar Advisors LLC informed MHB. that the

Debtors had decided to seek to employ other counsel.7

          6.        On August 24, 2018, MHB filed the Motion requesting the Court approve MHB’s

employment nunc pro tunc to August 31, 2018 and permit MHB to withdraw as counsel.8 That

motion was granted by Court order entered October 11, 2018.

                                          III. DISCUSSION
          7.        The Fifth Circuit employs the “lodestar” method to determine what constitutes

reasonable attorneys’ fees both within the bankruptcy context. Cahill v. Walker & Patterson,

P.C. (In re Cahill), 428 F.3d 536, 539–40 (5th Cir. 2005) (affirming the bankruptcy court’s

application of the lodestar method in determining a reasonable fee award for Chapter 13 debtors’

attorneys).

          8.        Courts compute the lodestar fee by multiplying the number of hours an attorney

would reasonably spend for the same type of work by the prevailing hourly rate in the

community. Blum v. Stenson, 465 U.S. 886, 888, 104 S.Ct. 1541, 79 L.Ed.2d 891 (1984); Cahill,

428 F.3d at 540. Courts may then adjust the lodestar up or down based on its consideration of the

Johnson factors that are not subsumed within the initial calculation of hours reasonably

expended at a reasonable hourly rate. Hensley v. Eckerhart, 461 U.S. 424, 434, 103 S.Ct. 1933,

76 L.Ed.2d 40 (1983); Saizan v. Delta Concrete Prods. Co., 448 F.3d 795, 800 (5th Cir. 2006).
          9.        The United States Supreme Court emphasized the importance of the “lodestar”

approach in calculating the reasonableness of attorneys’ fees, noting that because the method is

readily administrable and objective it “cabins the discretion of trial judges, permits meaningful

judicial review, and produces reasonably predictable results.” Perdue v. Kenny, 559 U.S. 542,

130 S.Ct. 1662, 1672, 176 L.Ed.2d 494 (2010). While courts have considerable discretion in

determining the amount of a fee award, they must explain the weight given to each factor

6
    Id. at ¶¶ 32-33.
7
    Id. at ¶ 37.
8
    Id. at ¶ 40.

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considered. Cahill, 428 F.3d at 540 (citing In re First Colonial Corp. of Am., 544 F.2d 1291,

1298 (5th Cir. 1977)).

         10.       The Court must first determine the number of compensable hours in the fee

statements, including only those hours reasonably expended by MHB’s attorneys. Hensley, 461

U.S. at 434, 103 S.Ct. 1933 (“Cases may be overstaffed, and the skill and experience of lawyers

vary widely. Counsel should make a good faith effort to exclude from a fee request hours that are

excessive, redundant, or otherwise unnecessary....”); League of United Latin Am. Citizens # 4552

v. Roscoe Indep. Sch. Dist., 119 F.3d 1228, 1232 (5th Cir. 1997) (noting that any hours not

reasonably expended, excessive, or duplicative should be excluded from consideration). The

burden is on the party seeking payment of its attorneys’ fees to show that the hours requested are

reasonable. Hensley, 461 U.S. at 437, 103 S.Ct. 1933; Firth v. Don McGill of West Houston,

Ltd., No. H–04–0659, 2006 WL 846377, at *4 (S.D. Tex. Mar. 28, 2006), aff’d 233 Fed.Appx.

346 (5th Cir. 2007). The evidence presented must be sufficient to prove that this burden is met;

indeed, an award of fewer hours may be appropriate “if the documentation is vague or

incomplete.” Firth, 2006 WL 846377, at *4 (quoting La. Power & Light Co. v. Kellstrom, 50

F.3d 319, 324 (5th Cir. 1995)).

         11.       In the present case, the Application indicates that nine attorneys as well as two

paralegals billed Reagor-Dykes Auto Group (“RDAG”) (a non-debtor entity) for their
professional services delivered to debtor and non-debtor entities. MHB charged RDAG a total of

$274,456.01 for the three weeks of services reflected in the invoices. This sum encompasses

$250,154.00 for 747.70 hours of work by the professionals and $24,302.01 in expenses,

including.

         12.       Of the 747.70 hours of professional services billed, a number of the entries

contain duplicative, redundant, excessive, and unreasonable hours, in addition to services

unrelated to the Bankruptcy Cases. In addition, many of the billing entries are vague or

incomplete, or are otherwise too confusing to decipher. Further, the Court should review MHB’s

request in the light of the outcome obtained and accordingly reduce any fee award accordingly.


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A.     Pre-Petition Services
       13.     MHB seeks approval of fees for 17 hours of work that occurred on July 29, 30

and 31, 20018 – prior to the bankruptcy filings. These fees should not be approved. MHB’s

employment was approved nunc pro tunc to August 1, 2018.

B.     Services Unrelated To Bankruptcy Cases
       14.     MHB seeks approval of $33,789.00 in fees for “work for non-debtor entities.”

These services conferred no benefit to the estate and should not be approved as a part of any fee

award in MHB’s former representation of the Debtors.

       15.     MHB also seeks approval of $34,822.00 for services related to “potential causes

of action.” Similarly, no benefit to the estate resulted from these services.

       16.     The Court should not approve these fees as they are unreasonable. Hensley, 461

U.S. at 434, 103 S.Ct. 1933.

C.     Unreasonable Services
       17.     The Application seeks approval of fees for many MHB entries that are patently

unreasonable. For instance, David Langston charges .20 on July 31, 2018 for calling his office to

reserve a small conference room. On August 5, 2018, Mr. Langston billed 2 hours for arranging

conference calls and notifying the participating in the call. These and many other similar charges

should not be approved.

D.     Redundant Services
       18.     The Application is replete with duplicative or redundant—including entries with

overlapping tasks, billings by multiple professionals for the same interoffice or client

conferences, and excessive time spent bringing various attorneys up to speed on tasks begun by

another attorney in the firm.
       19.     MHB has not explained the need for multiple attorneys at such meetings or the

necessity for meetings between attorneys. Fees for these redundant services should not be

approved. Hensley, 461 U.S. at 434, 103 S.Ct. 1933; Cahill, 428 F.3d at 542 (affirming the

bankruptcy court’s factual finding of duplication of effort, and corresponding reduction of hours,

where the attorneys had worked on overlapping portions of the case and billed hours for bringing
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each other up to speed on work begun by the other); In re Saunders, 124 B.R. 234, 236–37

(Bankr. W.D. Tex. 1991) (decreasing a fee award for duplicative billing where two attorneys

involved in a case billed their clients for a substantial number of conferences attended by both

attorneys).

E.       Vague, Ambiguous And Block Entries
         20.       The Application suffers from a multitude of vague, ambiguous and block time

entries. For example, on August 2, 2018, Bennett Cook charges 2 hours for “[v]arious telephone

conferences with multiple parties; start on organization of files.” On the same day, David

Langston bills 6.5 hours for, “call with John Massouh regarding release of funds and opening of

DIP accounts; review of American Century checks; discussion regarding opening DIP accounts

at Prosperity and need for immediate credit; discussion with D. Geck, D. Cram and K. Langley

regarding agreement for interim use of cash collateral; worked and revised cash flow projections;

calls with John Massouh to allow release of funds through pledge of First Bancshares stock of

Rick Dykes; discussion regarding placing $300,000 each at Prosperity to back immediate release

of funds to pay pre-petition wages.” These vague, ambiguous and block entries should be

disallowed. Firth, 2006 WL 846377, at *4–5.

F.       Excessive Time
         21.       The time spent by MHB attorneys on certain tasks was excessive. For example,
on August 4, 2018, David Langston bills 7 hours for, “work on financial information for

FMCC.”9 This excessive time spent on tasks is unreasonable and should not be approved.

Hensley, 461 U.S. at 434, 103 S.Ct. 1933; In re Osborne, 375 B.R. 216, 229 (Bankr. M.D. La.

2007) (reducing the number of hours an attorney claimed he invested in the litigation due to the

excessive time he spent on certain tasks, including preparing for status conferences, bankruptcy

court appearances, and oral arguments in the Fifth Circuit).



9
 Mr. Langston has billed a total of 296.40 hours which roughly equates to over 14 hours of work
per day for a 21 day period while MHB was employed.

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G.       Result MHB Obtained
         22.       The fees approved should be adjusted downward based upon the limited benefit

MHB added to the estate and the fact that MHB was ultimately fired by the Debtors. See

Roussell v. Brinker Int’l, Inc., No. H–05–3733, 2010 WL 1881898, at *3 (S.D. Tex. Jan. 13,

2010) (citing Hensley, 461 U.S. at 434, 103 S.Ct. 1933) (noting that the most important of the

Johnson factors to be considered in adjustments to the lodestar fee is “overall degree of success

achieved”); Arnold, 2000 WL 354395, at *7–8 (citing Shipes v. Trinity Indus., 987 F.2d 311, 320

(5th Cir.), cert. denied, 510 U.S. 991, 114 S.Ct. 548, 126 L.Ed.2d 450 (1993)) (considering the

results obtained in making a downward adjustment to the lodestar fee); Migis v. Pearle Vision,

Inc., 135 F.3d 1041, 1048 (5th Cir. 1998) (holding that even after a ten percent reduction to the

lodestar fee, the district court abused its discretion by failing to adequately consider the result

obtained relative to the attorney’s fees requested).

         23.       Here the fees incurred by MHB had little benefit to the estate and resulted in

MHB being terminated as counsel for Debtors. The hasty bankruptcy filings were arguably ill

conceived and left Debtors with no cash, no sale and no post-petition financing. Further, basic

tasks, such as closing pre-petition bank accounts and the preparation and filing of bankruptcy

schedules, failed to occur. Any fee award should be adjusted downward given the poor results.

                                         III. CONCLUSION
         For the reasons set forth above, Ford Credit respectfully requests that this Court:

         1.        Disallow the fees sought for pre-petition work; duplicative, redundant, excessive,

and unreasonable work; for services unrelated to the Bankruptcy Cases; and for entries that are

vague or incomplete, or are otherwise too confusing to decipher.

         2.        Adjust any fee award downward given the result obtained for the estate.




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DATED: November 29, 2018                 SEVERSON & WERSON
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing has been
served electronically by the Court’s ECF System on all parties registered to receive such service
on the 29th day November 2018.



                                                      /s/ Donald H. Cram___
                                                     Donald H. Cram




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